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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                               )
VLADIMIR KARA-MURZA,                           )
                                               )
       Plaintiff,                              )
                                               )
               v.                              )      Civil Action No. 20-0545 (RC)
                                               )
DEPARTMENT OF JUSTICE,                         )
                                               )
       Defendant.                              )
                                               )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of May 12, 2020, Plaintiff Vladimir Kara-Murza

and Defendant United States Department of Justice respectfully submit this Joint Status Report

in this Freedom of Information Act (“FOIA”) case.

       This case involves Plaintiff’s July 2018 FOIA request to the Federal Bureau of

Investigation (“FBI”) seeking records regarding Plaintiff, between May 2015 and July 2018. See

ECF No. 1 ¶ 18.

       As previously reported, as of April 29, 2020, RIDS resumed FOIA operations in a limited

fashion. The RIDS staff was divided into three teams that returned to work on a rotating basis to

comply with social distancing guidelines. See ECF No. 9-1 (Declaration of David M. Hardy).

       On May 26, 2020, RIDS increased its staffing levels, again to a limited degree. Given the

pandemic, however, the situation continues to remain uncertain and additional staffing changes

will be made when necessary.

       As of today, Defendant has identified records that are potentially responsive to Plaintiff’s

request and is continuing to search for additional documents responsive to Plaintiff’s request.

Defendant expects to be in a position to share the results of its additional searches with Plaintiff
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on or before June 18, 2020. At that time, Defendant anticipates being able to provide additional

information about a timetable for completion of processing and production.

       The parties propose to submit a further Joint Status Report on June 24, 2020, and every

45 days thereafter, to apprise the Court regarding the status of the FBI’s response to Plaintiff’s

request.

Dated: May 29, 2020                          Respectfully submitted,

                                                 /s/ Andrew E. Siegel
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